Case 1-24-40294-nni DOC y-0 Filed Qo/O//24 Entered Us/O 7/24 214009

United States Bankruptcy Court
Eastern District of New York

Inre New York International Bagel & Coffee Inc. Case No. 1-24-40294-nhI

Debtor(s) Chapter 7

NOTICE OF AMENDMENTS AND PURPOSE

The Debtor by his attorney Herbert Noel Steinberg, Esq., hereby gives Notice of Amendments to the
following schedules and/or statements of the Petition,

1. Schedule E/F is amended to add the following non- priority alleged creditors that were unintentionally left

off the original petition:

Abraham Gonzalez c/o Michael S. Samuel, Esq., claim is for $443,000.00
1441 Broadway, Ste. 6085
New York, NY 10018

Efrain Zamora Nendieta c/o Michael S. Samuel, Esq., claim is for $95,000.00
1441 Broadway. Ste. 6085
New York, NY 10018

2. The Statement of Financial Affairs, to wit: Part 3, page 2 is amended to add the two non-priority

unsecured creditors in paragraph 1 above who are Plaintiffs in lawsuits against the Debtor and said

information is added to the petition.

3. Official Form 206Sum is amended to add the sums claimed by the two added creditors in 1. Above to

reflect the total amounts claimed by all non-priority unsecured creditors. The total alleged amounts due

and owing by all non- priority creditors (3) are reflected in the amended total.

May 7 , 2024 Steinberg & fates, Esqs.

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